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                      BEFORE THE UNITED STATES JUDICIAL PANEL
                           ON MULTIDISTRICT LITIGATION



 In re: Digital Advertising Antitrust Litigation         MDL No. 3010


 This document relates to:

 CLIFFY CARE LANDSCAPING LLC, et al.,                    Civil Action No. 1:21-cv-360-KBJ
   on behalf of themselves and all others
   similarly situated,                                   (Consolidated with Case Nos. 21-cv-622
                                                         and 21-cv-658)
                     Plaintiffs,
 v.

 FACEBOOK, INC., et al.,

                      Defendants.


             RESPONSE OF CLIFFY CARE PLAINTIFFS IN OPPOSITION TO
            GOOGLE DEFENDANT’S MOTION FOR TRANSFER OF ACTIONS
                  TO THE NORTHERN DISTRICT OF CALIFORNIA

          Plaintiffs, Cliffy Care Landscaping LLC, Kinin, Inc., Raintree Medical and Chiropractic

Center LLC, and Rodrock Chiropractic PA (collectively, “Cliffy Care Plaintiffs”) submit the

following Memorandum of Points and Authorities in Opposition to Google’s Motion For

Transfer pursuant to 28 U.S.C. § 1407 (JPMDL, filed April 30, 2021).

I.        INTRODUCTION

          The Cliffy Care Plaintiffs are entitled to a separate determination by the Panel of whether

transfer and centralization of the consolidated Cliffy Care case 1 with 33 other, dissimilar


      1
      A consolidated amended complaint was filed on May 19, 2021 (attached hereto as Exhibit
“A,” hereinafter Cliffy Care) which combined the following actions pending in the District of the
District of Columbia by consolidation order entered on April 19, 2021: Cliffy Care Landscaping
LLC v. Facebook, Inc. et al., No. 21-cv-00360-KBJ (D.D.C., filed Feb. 9, 2021) (Mot. Ex. “T”),
Kinin, Inc. v. Facebook, Inc. et al., No. 21-cv-00622-KBJ (D.D.C., filed Mar. 8, 2021) and
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(partially consolidated) actions will promote the just and efficient conduct of its case or serve the

convenience of the parties and witnesses. The proposed transferee judge, the Honorable Beth L.

Freeman of the Northern District of California, has already determined that a case like Cliffy

Care which asserts a claim under Section 1 of the Sherman Act involving both Google and

Facebook should not be related to the consolidated advertiser or publisher cases pending before

her. Thus, Judge Freeman must have determined that those cases do not “concern substantially

the same parties, property, transaction or event” and there would be no “unduly burdensome

duplication of labor and expense or conflicting results” if the cases remain separate, as provided

by the Local Rules. See Civ.L.R. 3-12(a) (N.D. Cal.).

       Google has failed to offer any reason to set aside Judge Freeman’s determination and

provides only conclusory generalities in support of its extraordinarily broad motion for a Section

1407 bulk transfer of Cliffy Care to the Northern District of California, along with 14 antitrust

actions brought by newspaper publishers and a civil antitrust action brought by the State of

Texas and nine other States where a § 1404 transfer motion was also rejected. Google further

requests that, once transferred, these 16 actions (the 14 newspaper cases, the Texas case, and

Cliffy Care) be centralized with 11 cases currently pending before Judge Freeman which were

brought by digital advertiser plaintiffs and already consolidated (Mot. Exs. R and Q), six cases

pending in that district brought by digital publishers and separately consolidated (Mot. Ex. S),

and the action pending in that district alleging a Section 1 claim brought by Facebook advertisers

against Google (Mot. Ex. P) (which that Court declined to relate to either of the consolidated

cases because its claim is so dissimilar). Neither record evidence nor any legal analysis of the




Raintree Medical and Chiropractic Center LLC, et al. v. Facebook, Inc. et al., No. 21-cv-00658-
KBJ (D.D.C., filed Mar. 12, 2021).
                                                  2
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specific claims alleged in these other disparate cases has been presented to support Google’s

request to centralize Cliffy Care with all these other actions before Judge Freeman.

        Google has wielded a chain saw where, if anything, a scalpel is called for. By presenting

only generalized and plenary arguments and conflating superficially similar allegations from

pleadings that state wholly different legal theories in clearly separate relevant product markets

resting on plainly distinct theories of recovery, Google has made that task nearly impossible.

However, when applied to the specific circumstances of Cliffy Care, Google’s generalized

arguments fail to present a sufficient basis for the Panel to take the sweeping action Google has

requested. 2

        Google argues that transfer and centralization will prevent “extraordinary inconvenience”

to the parties and witnesses, “inconsistent rulings” on the “same legal and factual issues,” and

duplicative recovery for the “same allegedly anticompetitive conduct, concerning the same

products and services” by persons and entities that are members of “overlapping” classes. 3 Such

jeremiads are unlikely when considering the advertiser, publisher, and newspaper cases, but they

are utterly implausible with respect to Cliffy Care.

        Cliffy Care is a price fixing and auction rigging case brought by a specific subset of

digital advertisers who allege that Google and Facebook conspired and entered into an unlawful




    2
       See In re Light Cigarettes Mktg. & Sales Practices Litig., 652 F. Supp. 2d 1379, 1380
(J.P.M.L. 2009) (denying transfer and centralization of 3 of 11 actions because not showing their
inclusion would “serve the convenience of the parties and witnesses or further the just and
efficient conduct of the litigation”); In re Dow Chem. Co. "sarabond" Prods. Liab. Litig., 650 F.
Supp. 187 (J.P.M.L. 1986) (denying transfer and centralization of 1 of 14 actions because its
inclusion would not satisfy § 1407 convenience, justice, and efficiency requirements); In re
Concrete Pipe, 302 F. Supp. 244, 249 (J.P.M.L. 1969) (denying transfer and centralization for
one case that lacked factual overlap with the other cases sought to be transferred).
     3
       Memorandum of Points and Authorities in Support of Google Defendants’ Motion
Pursuant for Transfer and Centralization Pursuant to 28 U.S.C. § 1407 (“Mem.”) at 1.
                                                 3
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written agreement that distorted the conduct and outcome of Google’s exchange auctions for

open display advertising beginning in September 2018 in violation of Section 1 of the Sherman

Act. Cliffy Care thus concerns a limited universe of relevant facts, a narrowly defined class, a

relatively short class period, and a specific theory of harm tied to defendants’ unlawful concerted

action.

          In sharp contrast, to our knowledge, every other case alleges a theory of harm that is tied

to Google’s alleged monopolization of one or more digital advertising product markets or does

not arise out of the Section 1 violation alleged in Cliffy Care. Virtually every other action,

exclusively or principally, concerns Google’s alleged monopolization or attempted

monopolization of variously defined digital advertising markets and disparate products and

services in violation of Section 2. To the extent allegations in those cases bear on Google and

Facebook’s conspiracy or agreement, they appear solely to support a monopolization theory

against Google. Indeed, because they are monopolization cases, they are dominated by legal and

factual issues not relevant to the Cliffy Care litigation.

          Transferring Cliffy Care and consolidating it with the many pending monopolization

actions will not yield significant efficiencies but, rather, will cause significant delay and

prejudice for the Cliffy Care parties and ensnare them in protracted discovery and litigation of

non-germane matters, the resolution of which is unnecessary to resolve their case. Google’s

motion with respect to Cliffy Care should be denied.

II.       ARGUMENT

          Nearly every argument Google makes in support of transfer and centralization is incorrect

when applied to Cliffy Care. First, Cliffy Care does not involve the same legal claims or core of

facts as the other cases listed on Google’s Schedule of Actions (“SOA”). Second, courts will not


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be asked to rule on the same questions and there is little or no risk of conflicting rulings if Cliffy

Care remains independent. Third, the parties and witnesses are not likely to be burdened by the

same discovery multiple times if Cliffy Care is not transferred and centralized because, fourth,

the parties can informally coordinate to achieve efficiencies and non-duplication of discovery

despite the apparent size and complexity of the litigation as a whole.

       A.      Cliffy Care Shares Very Few Issues in Common with the Monopolization
               Cases

       Contrary to Google’s argument, it is a gross over-generalization to describe the universe

of pending cases as asserting “antitrust claims directed at Google’s advertising technology (‘ad

tech’) on behalf of U.S. publishers, advertisers and/or internet users” (Mem. at 1), as if Google

were the seller of a simple product in a single market. Nor is this antitrust action similar to a

mass tort. In reality, “ad tech” refers to a range of separate markets involving disparate products

in which Google participates in different capacities, including as advertiser, advertiser-facing

intermediary, ad auctioneer, auction clearinghouse, publisher-facing intermediary, and publisher.

The monopolization cases allege that Google has monopolized several of these separate markets

through a range of anticompetitive conduct (e.g., tying, exclusionary conduct, unlawful merger)

spanning roughly a decade, allegedly injuring many different market participants in several

different ways. By contrast, Cliffy Care alleges that a discrete class of advertisers were injured

by a Section 1 antitrust conspiracy between Google and Facebook evidenced by a specific

written agreement that rigged auctions and inflated prices for open display advertising apparently

beginning only in September 2018.

       Google glosses over the factual and legal differences among the actions listed on the

SOA, creating a façade of relatedness through inaccurate generalities. See, e.g., Mem. at 9 (“The

cases all challenge the same practices and purport to advance the interests of overlapping groups

                                                   5
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of claimants.”). This is incorrect. The various cases allege different antitrust claims based on

different misconduct that cause antitrust injuries in separate markets under different theories of

harm on behalf of differently situated and disparate classes and individuals. The cases are far

more varied and dissimilar than Google describes them.

         Because of this, disparate issues of fact and law predominate between the targeted

Section 1 claim alleged in Cliffy Care and the comparatively broader Section 2 claims alleged in

the other actions. Of the 10 “[i]ssues common to all cases” itemized by Google, 4 almost none of

them arise (or arise only tangentially) in the Cliffy Care case. Specifically, market definition and

the possible application of two-sided market theory are not issues to be determined in the Cliffy

Care litigation because the area of commerce affected by the alleged Section 1 violation is

defined by the restraint on competition exerted by the alleged unlawful agreement between the

defendants. 5 Similarly, issues related to the identity of market participants, Google’s and its

competitors’ market shares in antitrust markets related to Google’s ad tech, how Google’s ad

tech interacts with competitors’ ad tech, the competitive impact of Google’s prior acquisitions or

mergers, and whether Google’s optimization of its ad tech products and services constituted

competition on the merits or anticompetitive conduct are also not likely to arise in the Cliffy Care

litigation.

         Although “the design and operation of Google’s ad tech products and services, including

changes made … over the course of years” (Mem. at 11) could describe an issue in Cliffy Care, it



     4
      Mem. at 10-11.
     5
      See, e.g., FTC v. Indiana Federation of Dentists, 476 U.S. 447 (1986) (affirming judgment
in favor of FTC challenging anticompetitive agreement despite failure to define a relevant
market because product market analysis “is but a surrogate for detrimental effects”); See also
Republic Tobacco Co. v. North Atlantic Trading Co., Inc., 381 F.3d 717, 737 (7th Cir. 2004)
(direct proof of anticompetitive effects avoids “the usual showing of a precisely defined relevant
market …”).
                                                  6
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does so only in the limited sense that the unlawful agreement relates to how Google conducted

its final auctions for open display advertising and the changes it made after entering into its illicit

agreement with Facebook. Similarly, Cliffy Care only concerns the information Google does or

does not provide to others in relation to its ad tech in the limited context of the alleged

conspiracy in which only very specific information was provided by Google to Facebook.

Moreover, the prices Google charges to advertisers are not relevant to the Cliffy Care case

because the antitrust violation here concerns auction-determined prices, not prices “charged by”

Google.

       A party seeking transfer and centralization must demonstrate “that transfers for such

proceedings will be for the convenience of parties and witnesses and will promote the just and

efficient conduct of such actions.” 28 U.S.C.S. § 1407. Even so, such transfer and centralizations

should be “the last solution” after considered review of all other options. In re Best Buy Co., 804

F. Supp. 2d 1376, 1378 (J.P.M.L. 2011). It is inappropriate to transfer a case, therefore, where

hoped for efficiencies would be offset by prejudice and delay. In re Aqueous Film-Forming

Foams Prods. Liab. Litig., No. MDL No. 2873, 2021 U.S. Dist. LEXIS 21511, at *6 (J.P.M.L.

Feb. 4, 2021). It is likewise inappropriate to consolidate actions in which common questions of

fact or law do not predominate. In re Mortg. Lender Force-Placed Ins. Litig., 895 F. Supp. 2d

1352, 1353 (J.P.M.L. 2012) (denying centralization because “[c]ommon questions of fact … do

not predominate”); In re Sears, Roebuck & Co. Emp't Practices Litig., 487 F. Supp. 1362, 1364

(J.P.M.L. 1980) (denying consolidation despite presence of some common issues because non-

common issues predominated); In re Asbestos Sch. Prods. Liab. Litig., 606 F. Supp. 713, 714

(J.P.M.L. 1985) (denying centralization because, inter alia, the panel was “not persuaded that




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these common questions of fact will predominate over individual questions of fact present in

each action”). 6

        B.         Cliffy Care’s Section 1 Claim Requires Different Proof than the Cases
                   Alleging Section 2 Claims

        Claims brought under Section 1 and Section 2 of the Sherman Act govern different

conduct and require proof of substantially different elements. Section 1 of the Sherman Act

governs only concerted action involving multiple firms. Copperweld Corp. v. Indep. Tube Corp.,

467 U.S. 752, 795, 104 S. Ct. 2731, 2754 (1984). It requires proof that a defendant (i) entered

into a contract, combination or conspiracy (ii) that unreasonably restrained trade. Sharp Elecs.

Corp. v. Hitachi Ltd. (In re Cathode Ray Tube (CRT) Antitrust Litig.), No. MDL No. 1917, 2016

U.S. Dist. LEXIS 140647, at *189 (N.D. Cal. Oct. 7, 2016). By contrast, Section 2 governs

unilateral conduct in which a firm monopolizes or attempts to monopolize a relevant market.

Copperweld, 467 U.S. at 795. It requires proof of two elements: “(1) the possession of monopoly

power in the relevant market and (2) the willful acquisition or maintenance of that power as

distinguished from growth or development as a consequence of a superior product, business

acumen, or historic accident.” United States v. Grinnell Corp., 384 U.S. 563, 570–71 (1966).

Defining a relevant market and proving monopoly power are fact intensive exercises that often

dominate pre-trial litigation in Section 2 litigation. See, e.g., In re Google Dig. Advert. Antitrust

Litig., No. 20-cv-03556-BLF, 2021 U.S. Dist. LEXIS 98044 (N.D. Cal. May 13, 2021) (ECF No.




    6
      Additionally, transfer pursuant to 28 U.S.C. § 1407 is inconsistent with the venue
provisions of the Clayton Act (15 U.S.C. § 15(a)) as applied to the Sherman Act (15 U.S.C. §1)
which expressly provides that any person injured by reason of anything forbidden in the antitrust
laws may bring suit “in any district court of the United States in the district in which the
defendant resides or is found or has an agent.” Neither §§ 1407 (g) or (h) address private actions
under the Clayton Act. The Cliffy Care Plaintiffs respectfully reserve their rights to object on
these grounds.
                                                  8
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13) (“Google Dig. Advert.”) (dismissing advertisers’ Section 2 claim for failure to define a

relevant market); see also Deutscher Tennis Bund v. ATP Tour, Inc., 610 F.3d 820, 840 (3d Cir.

2010). These exercises are unnecessary in Cliffy Care.

        The newspaper cases, the already consolidated advertiser and publisher cases, and the

States’ case are all predominantly Section 2 cases that are driven by legal issues that are

immaterial to Cliffy Care. For example, in her recent order dismissing the consolidated advertiser

case with leave to amend, Judge Freeman addressed whether the plaintiffs adequately alleged a

relevant market, whether they alleged anticompetitive conduct actionable under Section 2, and

whether they adequately alleged that Google’s monopolization caused their injury. 7 None of

these issues pertain to a Section 1 claim or the Cliffy Care litigation.

        While the States’ case and the newspaper cases include Section 1 claims, the claims are

perfunctory and receive little or no support from the allegations stated in the operative

complaints. Describing the States’ case in a recent order, the Honorable Sean D. Jordan

concluded that “[a]t its core, Plaintiff States’ theory of the case is that Google has violated

Section 2 of the Sherman Act, as well as applicable state antitrust laws, by unlawfully

maintaining a monopoly, or attempting to acquire a monopoly, in markets associated with online

display advertising.” 8

        The newspaper cases are individual Section 2 cases that allege Google monopolized the

digital advertising market by vertically integrating itself through hundreds of acquisitions

spanning more than a decade. As a result, newspapers allegedly can no longer compete for online

advertising sales and have lost revenue. See, e.g., Mot. Ex. N (Emmerich Compl.) ¶108. The



    7
     Google Dig. Advert. (ECF No. 143).
    8
      Texas v. Google LLC, No. 4:20-CV-957-SDJ, 2021 U.S. Dist. LEXIS 96586, at *5 (E.D.
Tex. May 20, 2021).
                                                  9
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“digital advertising market” refers to the entire ad tech product suite for both search and display

advertising. Id. ¶¶ 101-104. The newspaper cases, therefore, (i) are premised on an unrelated

Section 2 monopolization theory; (ii) will require discovery into and litigating several unrelated

Section 2 issues (e.g., whether the relevant market is properly defined and whether Google has

monopoly power in the relevant market); (iii) are based on facts irrelevant to Cliffy Care (e.g.,

acquisitions that enabled Google to monopolize the digital advertising market); (iv) concern

competition in a significantly broader segment (one or more of the many markets in the “ad tech

stack”); (v) involve different injuries and damages; and (vi) do not involve any class action-

related issues.

        Indeed, the allegations concerning the Google-Facebook agreement in the newspaper

cases aver that the agreement contributed to Google’s unlawful acquisition or maintenance of

monopoly in one or more digital advertising markets, which supports their Section 2 claims but

does not prosecute an independent Section 1 claim. See, e.g., Mot. Ex. N (Emmerich Compl.) ¶¶

24, 86 (alleging that “[the] agreement closed a growing threat to Google’s primacy and further

cemented its stranglehold on the marketplace”; and that “Google and Facebook entered into an

illegal agreement to preserve and protect their respective positions in the digital advertising

market”). These are substantially different issues than what is implicated by the narrowly crafted

Section 1 claim brought in Cliffy Care.

        The States’ case is a combined parens patriae and sovereign action brought against

Google by 10 State Attorneys General on behalf of their citizens allegedly harmed by Google’s

anticompetitive practices. The relevant markets at issue are publisher ad servers, ad exchanges,

ad networks, ad buying tools for large and small advertisers, and YouTube. Mot. Ex. G (States’

case Compl.) ¶¶ 65-116. The States’ case was filed following an eighteen-month investigation



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that included the production of millions of pages of documents and participation by more than

sixty witnesses. Google LLC, 2021 U.S. Dist. LEXIS 96586, at *22. Therefore, the States’ case

(i) is premised on an unrelated Section 2 monopolization theory against a different set of

defendants (not Facebook); (ii) requires litigating numerous unrelated Section 2 issues; (iii) is

based on facts irrelevant to Cliffy Care; (iv) concerns product markets that are broader and

largely irrelevant to Cliffy Care; (v) involves numerous theories of injury and damages unrelated

to Cliffy Care (e.g., whether publishers were harmed); and (vi) is much further along

procedurally given the amount of discovery that has already occurred.

           The separately consolidated advertiser and publisher cases have virtually no legal or

factual overlap with Cliffy Care. They do not allege Section 1 claims, do not name Facebook as a

defendant, and do not mention the Google-Facebook agreement nor do they allege that Google

conspired with Facebook. See generally Mot. Exs. R (consolidated advertiser case Compl.) and S

(consolidated publisher case Compl.). Instead, these cases allege that Google monopolized the

markets for online display advertising services and unlawfully acquired or maintained those

monopolies, causing the class of advertisers to pay higher prices and the class of publishers to

receive less revenue. Id.

           Even Negron, 9 the only case other than Cliffy Care that comes close to alleging a self-

contained Section 1 case and that Judge Freeman refused to relate to the other cases before her,

differs materially from Cliffy Care. Negron is brought against Google on behalf of a class of

purchasers of advertising space through Facebook, a class which is expressly excluded from

Cliffy Care. Compare Mot. Ex. P (Negron Compl.) ¶ 131 with Opp. Ex. A (Cliffy Care Consol.




      9
          Negron v. Google LLC, No. 21-cv-00801-HSG (N.D. Cal., filed Feb. 1, 2021) (Mot. Ex.
P).
                                                   11
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Amended Compl.) ¶ 22. The Section 1 claim in Negron, moreover, alleges that Google possesses

monopoly power in one or more advertiser technology services markets, that Google unlawfully

acquired and maintained such power through various forms of anticompetitive conduct, and that

Google’s unlawful monopolization caused injury to Facebook’s advertising customers. Mot. Ex.

P (Negron Compl.) ¶¶ 52-115, 128, 146, 150. These allegations and damages theory do not

overlap with Cliffy Care and the injuries are alleged to have been caused by monopolization

rather than the effects of the allegedly unlawful agreement.

         C.     Multiple Courts Have Determined these Actions Lack Substantial Overlap

         These distinctions have led two courts to deny requests to consolidate, relate, or transfer

certain of these cases for lack of sufficient commonality or overlap. Judge Freeman denied an

unopposed administrative motion filed on February 9, 2021 to relate Negron to the consolidated

advertiser case 10 and declined a request to consolidate the consolidated advertiser case with the

consolidated publisher case. 11

         Likewise, the Honorable Sean D. Jordan, who presides over the States’ case, 12 recently

denied Google’s motion to transfer that case to the Northern District of California because the

cases there “involve claims, parties, defenses, damages, and procedural frameworks that differ

materially from those in this case. Given the important distinctions between this case and those

pending in the Northern District of California, Google has failed to establish that transfer of this




    10
       Google Dig. Advert (ECF Nos. 88, 108).
    11
       Google Dig. Advert. (ECF No. 71) (containing request by Google to consolidate the
publisher cases with the consolidated advertiser case).
    12
       Texas et al. v. Google, LLC, No. 20-cv-00957-SDJ (E.D. Tex., filed Dec. 16, 2020)
(“Google LLC”).
                                                  12
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case would clearly preserve judicial economy.” 13 By seeking transfer and centralization now,

Google is effectively asking this Panel to overturn these decisions.

         Disparate issues of fact and law separate Cliffy Care’s narrow Section 1 claim from the

comparatively broad Section 2 claims alleged in the other actions. As a result, no efficiencies or

enhanced convenience will be gained by transferring and centralizing Cliffy Care in the Northern

District of California.

         D.     There is No Risk of Conflicting Rulings or Duplicative Recoveries if Cliffy
                Care is Not Transferred

         Google argues there is a risk of “inconsistent class determinations across cases” because

Cliffy Care, the consolidated advertiser case, the consolidated publisher case, and Negron may

have overlapping class members. But Google does not explain how or why this would lead either

to inconsistent class determinations or duplicative recoveries. Google is alleged to have

participated in many different capacities in the digital advertising industry and to have violated

Section 2 by monopolizing or attempting to monopolize multiple separate markets through a

litany of alleged anticompetitive conduct over the past decade that has allegedly caused injury to

many different classes of market participants. It is entirely expected that such sprawling activities

coupled with such widespread misconduct would give rise to multiple class actions that seek

separate redress for each separate antitrust violation. It is also entirely expected that many of the

same persons or entities would be members of more than one class. Google has failed to explain

why multiple class actions should result in inconsistent class determinations, or how or why it

runs a risk of having to pay duplicative recoveries unless all these cases are transferred to the

Northern District of California. Google’s conclusory argument in this regard is not sufficient to



    13
         Google LLC, 2021 U.S. Dist. LEXIS 96586, at *23.
                                                 13
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support the legal and factual findings necessary to determine that all these cases should be

centralized.

        This is particularly true with respect to Cliffy Care, whose class members seek recovery

for a specific antitrust injury caused by a particular act of collusion with Facebook bearing on the

conduct of clearinghouse auctions after September 2018. Google can give no reason that

qualified members of the Cliffy Care class should not also be entitled to participate as qualified

class members in any other action which seeks to recover for antitrust injuries caused by

Google’s other acts or conduct. This applies to the consolidated publisher and various newspaper

cases, as well as the consolidated advertiser and Negron cases. Each of the classes proposed in

each of those cases seeks recovery for alleged injury stemming from an antitrust violation that is

legally distinct and different from the violation alleged against Google and Facebook in the Cliffy

Care case. Given these differences, class determinations among these cases cannot be

inconsistent and Google runs no risk of duplicative recoveries.

        Google also argues that “[a]bsent centralization, these cases are also likely to result in

conflicting (not merely inconsistent) rulings on such issues as antitrust market definition” and

that “[d]ifferent sets of plaintiffs allege conflicting things regarding whether certain companies

participate in the alleged market.” Mem. at 13. However, market definition and whether certain

companies participate in an alleged market are issues that relate to Section 2 monopolization

claims, not the kind of Section 1 claim brought in Cliffy Care. Therefore, there is no risk of

inconsistent resolutions of these issues for the Panel to deny Google’s motion to transfer Cliffy

Care.




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         E.     Informal Coordination Is A More Efficient and Less Disruptive Means of
                Ensuring that Discovery Is Non-Duplicative and Not Overly Burdensome

         Google argues that it and non-parties will be subject “to the same discovery nineteen

times” if their motion is not granted. Mem. at 11. But this argument does not apply to Cliffy

Care. Substantial factual and legal differences between Cliffy Care and the other cases suggest

that the amount of overlapping discovery is likely to be minimal. To the extent common

discovery needs arise, the parties can engage in informal coordination to eliminate duplication,

including filing notices of depositions in all related actions and stipulating that discovery

relevant to multiple actions can be used in all of those actions. See In re OSF Healthcare Sys.

Emple. Ret. Income Sec. Act Erisa Litig., 223 F. Supp. 3d 1343, 1345 (J.P.M.L. 2016) (listing

these as tools parties can use to ensure efficiencies through informal coordination).

         The conduct by counsel to date demonstrates that informal coordination is practicable and

can achieve the same efficiencies as transfer and consolidation. The consolidated advertiser and

publisher cases are already well-equipped to engage in informal coordination of discovery

because they have appointed a discovery committee tasked with “coordinating fact and expert

discovery across similar cases brought by governmental entities and private parties in other

jurisdictions to the extent reasonably feasible.” 14 Counsel for Negron has already engaged in

discussions concerning informal coordination of discovery with multiple actions. 15 In the States’

case, although nearly all discovery was completed during the eighteen-month investigation that

preceded the filing, there is no reason to doubt that the State AGs will not also engage in

informal coordination. See In re Uber Techs., Inc., 158 F. Supp. 3d 1372, 1373 (J.P.M.L. 2016)



    14
      Google Dig. Advert. (ECF No. 134).
    15
      Negron (ECF 22) (“the parties have discussed the time and cost saving advantages of
seeking to align certain pre-trial procedures in the [consolidated publisher case] and the
[consolidated advertiser case] with the Negron Action before this Court”).
                                                 15
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(finding centralization unnecessary in part because one of the actions had “little, if any,

discovery left to coordinate”). Informal coordination between Cliffy Care and these other actions,

therefore, to the limited extent it will be required, is available, practicable, and efficient.

        Google’s conclusory claim that “there are too many lawsuits, in too many districts” for

informal coordination to succeed (Mem. at 15) is belied by the facts at issue in the proceedings

and the nature of the pending actions. While Google’s request concerns 19 pending actions (15

of which are subject to transfer) this number is misleading. Thirteen of the newspaper cases

consist of practically identical complaints filed by the same counsel. Even as separate and

independent cases, informal coordination is practicable because the same counsel appears in all

of them. See In re Energy Drilling, LLC, Contract Litig., 140 F. Supp. 3d 1333, 1334 (J.P.M.L.

2015) (denying centralization and finding informal coordination practicable in part because there

was “limited factual overlap”).

III.    CONCLUSION

        For the reasons set forth above, Google has failed adequately to support its request for

transfer and centralization as it relates to Cliffy Care. Google has failed to demonstrate that

transfer and centralization under § 1407 will increase convenience of the parties and witnesses or

promote the just and efficient conduct of these actions. The Cliffy Care Plaintiffs respectfully

request that Google’s motion be denied.




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Date: May 26, 2021

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